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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


Amalgamated Titanium International Corp.,
and David Lamoureux

               Plaintiffs

       v.                                      CIVIL ACTION NO. 1:19-12496-RGS

Mennie Machine Company d/b/a
MMC Armory

               Defendant


                             SETTLEMENT ORDER OF DISMISSAL

STEARNS, D.J.

       The court having been advised on June 29, 2022, that the above-entitled action

has settled:

       It is ORDERED that this action is hereby dismissed, without costs and without

prejudice to the right of any party, upon good cause shown, to reopen the action within

(90) days if settlement is not consummated.


                                                             By the court,

Dated: June 30, 2022                                         /s/ Arnold Pacho
                                                             Deputy Clerk
